












Affirmed and Memorandum Opinion filed October 14, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-10-00341-CR

NO. 14-10-00342-CR

____________

&nbsp;

PAULINE SYLVIA JACOBS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 338th District Court

Harris County, Texas

Trial Court Cause Nos. 1244540 &amp;
1231359

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered pleas of guilty to robbery—bodily injury
and burglary of a habitation with intent to commit theft. &nbsp;On April 8, 2010,
the trial court sentenced appellant to confinement for eight years in the
Institutional Division of the Texas Department of Criminal Justice for each
offense.&nbsp; The court ordered the sentences to run concurrently. &nbsp;Appellant filed
a timely notice of appeal.

Appellant’s appointed counsel filed a brief in which he
concludes the appeal is wholly frivolous and without merit. &nbsp;The brief meets
the requirement of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396
(1967), by presenting a professional evaluation of the record and demonstrating
why there are no arguable grounds to be advanced. &nbsp;See High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel’s brief was delivered to appellant. &nbsp;Appellant
was advised of the right to examine the appellate record and file a pro se
response. &nbsp;See Stafford v. State, 813 S.W.2d 503, 510 (Tex. (Tex. Crim.
App.1991). &nbsp;As of this date, no pro se response has been filed.

We have carefully reviewed the record and counsel’s brief and
agree the appeal is wholly frivolous and without merit. Further, we find no
reversible error in the record. &nbsp;We are not to address the merits of each claim
raised in an Anders brief or a pro se response when we have determined
there are no arguable grounds for review. &nbsp;See Bledsoe v. State, 178
S.W.3d 824, 827–28 (Tex. Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Anderson, Frost, and Brown. 

Do Not Publish — Tex. R. App. P. 47.2(b).





